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Michael D. Warner (TX Bar No. 00792304)
Robert J. Feinstein, Esq. (admitted pro hac vice)
Ayala Hassell (TX Bar No. 01009800)
Steven W. Golden (TX Bar No. 24099681)
Benjamin L. Wallen (TX Bar No. 24102623)
PACHULSKI STANG ZIEHL & JONES LLP
440 Louisiana Street, Suite 900
Houston, TX 77002
Telephone: (713) 691-9385
mwarner@pszjlaw.com
rfeinstein@pszjlaw.com
ahassell@pszjlaw.com
sgolden@pszjlaw.com
bwallen@pszjlaw.com


                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

In re:                                               § Chapter 11
                                                     §
SPHERATURE INVESTMENTS LLC,                          § Case No.: 20-42492
et al., 1                                            §
                                                     §
                            Debtors.                 § Jointly Administered


    APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
        FOR ENTRY OF AN ORDER AUTHORIZING THE RETENTION AND
         EMPLOYMENT OF PACHULSKI STANG ZIEHL & JONES LLP AS
               COUNSEL EFFECTIVE AS OF FEBRUARY 1, 2021

                   14-DAY NEGATIVE NOTICE – LBR 2014(A):
          YOUR RIGHTS MAY BE AFFECTED BY THE RELIEF SOUGHT
          IN THIS PLEADING. YOU SHOULD READ THIS PLEADING
          CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY, IF
          YOU HAVE ONE IN THIS BANKRUPTCY CASE. IF YOU
          OPPOSE THE RELIEF SOUGHT BY THIS PLEADING, YOU
          MUST FILE A WRITTEN OBJECTION, EXPLAINING THE
          FACTUAL AND/OR LEGAL BASIS FOR OPPOSING THE RELIEF.

          NO HEARING WILL BE CONDUCTED ON THIS APPLICATION

1 The “Debtors” in the above-captioned jointly administered chapter 11 bankruptcy cases (“Cases”) are: Spherature
Investments LLC (“Spherature”) EIN#5471; Rovia, LLC (“Rovia”) EIN#7705; WorldVentures Marketing Holdings,
LLC (“WV Marketing Holdings”) EIN#3846; WorldVentures Marketplace, LLC (“WV Marketplace”) EIN#6264;
WorldVentures Marketing, LLC (“WV Marketing”) EIN#3255; WorldVentures Services, LLC (“WV Services”)
EIN#2220.


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          UNLESS A WRITTEN OBJECTION IS FILED WITH THE
          CLERK OF THE UNITED STATES BANKRUPTCY COURT
          AND SERVED UPON THE PARTY FILING THIS PLEADING
          WITHIN FOURTEEN (14) DAYS FROM THE DATE OF
          SERVICE SHOWN IN THE CERTIFICATE OF SERVICE
          UNLESS THE COURT SHORTENS OR EXTENDS THE TIME
          FOR   FILING SUCH OBJECTION. IF NO OBJECTION IS
          TIMELY SERVED AND FILED, THIS PLEADING SHALL BE
          DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER
          AN ORDER GRANTING THE RELIEF SOUGHT. IF AN
          OBJECTION IS FILED AND SERVED IN A TIMELY MANNER,
          THE COURT WILL THEREAFTER SET A HEARING WITH
          APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR AT THE
          HEARING, YOUR OBJECTION MAY BE STRICKEN. THE
          COURT RESERVES THE RIGHT TO SET A HEARING ON ANY
          MATTER.

        The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

above-captioned cases (the “Chapter 11 Cases”) of Spherature Investments LLC and the

affiliated jointly-administered debtors and debtors in possession (collectively, the “Debtors”)

submits this application (the “Application”), pursuant to sections 105, 327, and 328(a) of title 11

of the United States Code (the “Bankruptcy Code”), Rules 2014 and 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2014-1 and 2016-1 of the

Bankruptcy Local Rules for the Eastern District of Texas (the “Local Bankruptcy Rules”), for

entry of an Order, substantially in the form attached hereto, authorizing the retention and

employment of Pachulski Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”) as its counsel,

effective as of February 1, 2021. In support of the Application, the Committee submits the

Declaration of Michael D. Warner, a Partner of PSZJ (the “Warner Declaration”) attached hereto

as Exhibit A and the Committee representative attached hereto as Exhibit B (the “Committee

Declaration”), and respectfully represents as follows:




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                                      JURISDICTION AND VENUE

        1.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b).

        2.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.       The statutory bases for the relief requested herein are sections 105(a), 327, and

328(a) of the Bankruptcy Code, Bankruptcy Rules 1007(c), 2014(a), 2016 and 9006(b), and

Local Bankruptcy Rules 2014-1 and 2016-1.

                                           BACKGROUND

        4.       On December 21, 2020 (the “Petition Date”), each of the Debtors filed a

voluntary petition under chapter 11 of the Bankruptcy Code in this Court. The Debtors are

authorized to operate their businesses and manage their properties as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been

appointed in these Chapter 11 Cases.

        5.       On January 22, 2021, the United States Trustee (the “U.S. Trustee”) filed an

Appointment of Official Unsecured Creditors Committee [Docket No. 93], appointing a

Committee pursuant to section 1102 of the Bankruptcy Code consisting of five members.

Thereafter, On February 3, 2021, the U.S. Trustee filed an Amended Appointment of Official

Unsecured Creditors Committee [Docket No. 116] which removed two members. As of the date

hereof, the members of the Committee are: (i) FSP Legacy Tennyson Center, LLC; (ii) Melody

Yiru; and (iii) David Watson.

        6.       On February 1, 2021, the Committee held a meeting, and among other things,

selected PSZJ as counsel, subject to Court approval. In addition, the Committee also selected




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GlassRatner Advisory & Capital Group LLC, d/b/a B. Riley Advisory Services (“B. Riley”) as

its financial advisors, subject to Court approval.

        7.       PSZJ has approximately 75 attorneys with a practice concentrated on corporate

reorganizations, bankruptcy, litigation, and commercial matters.         PSZJ’s attorneys have

extensive experience representing creditors’ committees in complex chapter 11 cases throughout

the country, including Studio Movie Grill Holdings, LLC (N.D. Tex.); Tailored Brands, Inc.

(S.D. Tex.), Neiman Marcus Group (S.D. Tex.), Chinos Holdings, Inc. (E.D. Va.), Gymboree

(E.D. Va.), Payless Holdings (E.D. Mo.), Frank Theatres Bayonne/South Cove, LLC (D. N.J.),

Ashley Stewart Holdings, Inc. (D. N.J.); Bakers Footwear (E.D. Mo.), The Bon-Ton Stores (D.

Del.), Ignite Restaurant Group (S.D. Tex.), Sports Authority (D. Del.), Western Convenience

Stores (D. Colo.), BCBG Max Azria (S.D.N.Y.), Anna’ s Linens, (C.D. Cal.), Aéropostale

(S.D.N.Y.), 155 Route 10 Associates, Inc. (D. N.J.), and Pennsylvania Fashions, Inc. (D. N.J.).

Additionally, PSZJ’s attorneys have substantial experience representing parties-in-interest in

bankruptcy cases in this District. Based on these facts, the Committee believes that PSZJ is well-

qualified to render the services as described below.

                                        RETENTION OF PSZJ

         8.      By this Application, the Committee seeks authority to retain PSZJ as counsel to

represent its interests regarding all matters related to the Debtors’ Chapter 11 cases pursuant to

sections 327, 328, and 1103 of the Bankruptcy Code, Bankruptcy Rule 2014(a), and Local

Bankruptcy Rule 2014-1. The Committee seeks to retain PSZJ effective as of February 1, 2021,

because PSZJ began providing services to the Committee as of such date. The Committee

believes that such retention is appropriate in these Cases because the Committee required

effective representation prior to such time as a retention application could be submitted to the



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Court due to the exigencies of these Chapter 11 Cases, and PSZJ has been providing services to

the Committee since February 1, 2021.

         9.      The Committee selected PSZJ because the partners, counsel, and associates of

PSZJ possess extensive knowledge and considerable expertise in the fields of bankruptcy,

insolvency, reorganizations, debtors’ and creditors’ rights, debt restructuring, and corporate

reorganizations, among other qualifications. In addition, the attorneys at PSZJ have experience

appearing before the Courts in this District and are familiar with local practice and procedure.

The Committee believes that PSZJ is well-qualified to serve as its counsel in these Chapter 11

Cases.

         10.     The Committee submits that it is necessary and appropriate for it to employ and

retain PSZJ to provide, among other things, the following services:


                            a.    Assisting, advising and representing the Committee in its
                                  consultations with the Debtors regarding the administration of
                                  these Chapter 11 Cases;

                            b.    Assisting, advising and representing the Committee with respect to
                                  the Debtors’ retention of professionals and advisors with respect to
                                  the Debtors’ business and these Chapter 11 Cases;

                            c.    Assisting, advising and representing the Committee in analyzing
                                  the Debtors’ assets and liabilities, investigating the extent and
                                  validity of liens and participating in and reviewing any proposed
                                  asset sales, any asset dispositions, financing arrangements and cash
                                  collateral stipulations or proceedings;

                            d.    Assisting, advising and representing the Committee in any manner
                                  relevant to reviewing and determining the Debtors’ rights and
                                  obligations under leases and other executory contracts;

                            e.    Assisting, advising and representing the Committee in
                                  investigating the acts, conduct, assets, liabilities and financial
                                  condition of the Debtors, the Debtors’ operations and the
                                  desirability of the continuance of any portion of those operations,
                                  and any other matters relevant to the Chapter 11 Cases or to the
                                  formulation of a plan;

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                            f.    Assisting, advising and representing the Committee in connection
                                  with any sale of the Debtors’ assets;

                            g.    Assisting, advising and representing the Committee in its
                                  participation in the negotiation, formulation, or objection to any
                                  plan of liquidation or reorganization;

                            h.    Assisting, advising and representing the Committee in
                                  understanding its powers and its duties under the Bankruptcy Code
                                  and the Bankruptcy Rules and in performing other services as are
                                  in the interests of those represented by the Committee;

                            i.    Assisting, advising and representing the Committee in the
                                  evaluation of claims and on any litigation matters, including
                                  avoidance actions; and

                            j.    Providing such other services to the Committee as may be
                                  necessary in these Chapter 11 Cases.

        11.      The Committee understands and agrees that PSZJ will charge for its legal services

on an hourly basis in accordance with its ordinary and customary hourly rates in effect on the

date such services are rendered and for out-of-pocket expenses, all as set forth in the Warner

Declaration. The Committee requests that all legal fees and related costs and expenses incurred

by the Committee on account of services rendered by PSZJ in these Chapter 11 Cases be paid as

administrative expenses of the estate pursuant to Sections 327, 328, 330(a), 331, 503(b) and

507(a)(2) of the Bankruptcy Code. The Committee understands that PSZJ will be submitting

detailed statements to the Court setting forth the services rendered and seeking compensation and

reimbursement of expenses. The Committee also understands that PSZJ will be applying to the

Court for authority to be paid its fees and expenses pursuant to its obligations under the

Bankruptcy Code and any administrative fee orders entered in these cases, and the Committee

consents to same.

        12.      Based upon the Warner Declaration, the Committee is satisfied that PSZJ: (i) does

not represent any other entity having an adverse interest to the Committee, the Debtors, their


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estates, or any other party-in-interest in connection with these cases, (ii) has no connection with

the U.S. Trustee or any other person employed in the office of the U.S. Trustee, and (iii) PSZJ

has not been paid any retainer against which to bill fees and expenses. To the best of the

Committee’s knowledge, PSZJ has no connection with creditors or any other party-in interest

except as otherwise noted in the Warner Declaration.

        13.      The Committee requests approval of the employment of PSZJ, effective February

1, 2021. The Committee’s selection of PSZJ as its counsel on February 1, 2021 necessitated that

PSZJ immediately commence work on time-sensitive matters and promptly devote substantial

resources to the Debtors’ cases, pending submission and approval of this Application. Such relief

is warranted pursuant to Local Bankruptcy Rule 2014-1(b) because this Application is made

within 30 days of the commencement of services by PSZJ.

                                      SUPPORTING AUTHORITY

        14.      The Committee seeks to retain PSZJ as its counsel in accordance with sections

327, 328(a), and 1103 of the Bankruptcy Code. Section 328(a) authorizes a committee appointed

under section 1102 of the Bankruptcy Code, with the court’s approval, to employ “a professional

person under section 327 or 1103 of this title, as the case may be, on any reasonable terms and

conditions of employment, including on a retainer, on an hourly basis, on a fixed or percentage

fee basis, or on a contingent fee basis.” 11 U.S.C. § 328(a). Section 1103, in turn, requires that an

attorney employed to represent a committee “may not, while employed by such committee,

represent any other entity having an adverse interest in connection with the case.” 11 U.S.C. §

1103.




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        15.      The Committee submits that for all the reasons stated above and in the Warner

Declaration, the retention and employment of PSZJ as counsel to the Committee is warranted

under sections 327, 328(a), and 1103 of the Bankruptcy Code.

        16.      No prior application for the relief requested herein has been presented to this or

any other Court.

                                               NOTICE

         17.     In accordance with Local Rule 2014-1(b), notice of this Application has been

served on (a) the Debtors; (b) counsel to the Debtors; (c) counsel to the agent for the Debtors’

alleged secured creditors; (d) the Office of the United States Trustee for the Eastern District of

Texas; (e) the United States Attorney for the Eastern District of Texas; (f) the Internal Revenue

Service; (g) the state attorneys general for the states in which the Debtors conduct business; (h)

the Securities and Exchange Commission; (i) the Internal Revenue Service; (j) the applicable

taxing authorities; and (k) any party that has requested service pursuant to Bankruptcy Rule

2002. The Committee submits that such notice is sufficient and that no other or further notice be

provided.

        WHEREFORE, the Committee requests that an Order be entered authorizing it to retain

PSZJ as its counsel in these cases, effective February 1, 2021, and granting the Committee such

other relief as the Court deems just and proper under the circumstances.




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                                                     Respectfully submitted,

                                                     THE OFFICIAL COMMITTEE OF
                                                     UNSECURED CREDITORS OF
                                                     SPHERATURE INVESTMENTS LLC, et
                                                     al.

Dated: February 18
                __, 2021                       By:
                                                     Christine Villar, Vice President of FSP
                                                     Property Management, LLC, asset manager
                                                     for FSP Legacy Tennyson Center LLC

                                                     Authorized representative of the Official
                                                     Committee of Unsecured Creditors of
                                                     Spherature Investments LLC, et al. and not
                                                     in any other capacity




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